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Form CGFC1 (12/1/15)


                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov

                                                                                                                 Case Number: 21−21148−LMI
                                                                                                                 Chapter: 7



In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Victor R Gabuardi
aka Victor Roberto Gabuardi, aka Victor Gabuardi
1315 SW 93 Place
Miami, FL 33174

SSN: xxx−xx−5169



                                      NOTICE OF DEADLINE TO FILE CLAIMS


The trustee has filed a Notice of Assets in this case. NOTICE IS HEREBY GIVEN THAT:

All nongovernmental creditors of the above−named estate are required to file their claims pursuant to
Bankruptcy Rule 3002(c)(5) on or before 10/8/22 in order to participate in the distribution of available
funds. Pursuant to 11 U.S.C. § 502(b)(9), the deadline for filing claims by governmental units shall be the
claims deadline set forth in this notice or 180 days after the date relief was ordered under chapter 7,
whichever is later. Claims should be filed using the Official Form 410 Proof of Claim available at any
bankruptcy clerk's office or on the court's website at: www.flsb.uscourts.gov, and delivered or mailed to the
clerk's office address listed below. To receive acknowledgment of receipt by the clerk, enclose a copy of
the claim and an adequate sized stamped self addressed envelope.

US Bankruptcy Court
301 North Miami Avenue, Room 150
Miami, FL 33128


As an alternative filing method, any creditor with internet access may file a proof of claim electronically and
print a copy of the claim at the time of filing by using the electronic claims filing program available on the
court website: www.flsb.uscourts.gov.


Filing Deadline for a Foreign Creditor:

If this notice has been mailed to a creditor at a foreign address, the creditor may file a motion requesting
the court to extend the deadline.



Dated: 7/8/22                                                                CLERK OF COURT
                                                                             By: admin
                                                                             Deputy Clerk


The clerk shall serve a copy of this notice on all parties of record.
